Case 3:18-cv-00428-DMS-MDD Document 21-1 Filed 03/03/18 PageID.464 Page 1 of 96



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                            UNITED STATES DISTRICT COURT
  10                      SOUTHERN DISTRICT OF CALIFORNIA

  11
       Ms. L.,                                             Case No. 18-cv-00428-DMS-MDD
  12
                             Petitioner-Plaintiff,
  13   v.
                                                           Date Filed: March 3, 2018
  14   U.S. Immigration and Customs Enforcement
       (“ICE”); U.S. Department of Homeland Security
  15   (“DHS”); U.S. Customs and Border Protection
       (“CBP”); U.S. Citizenship and Immigration
  16   Services (“USCIS”); U.S. Department of Health
       and Human Services (“HHS”); Office of
  17   Refugee Resettlement (“ORR”); Thomas                PETITIONER-PLAINTIFF’S
       Homan, Acting Director of ICE; Greg                 MEMORANDUM IN
  18   Archambeault, San Diego Field Office Director,      SUPPORT OF MOTION FOR
       ICE; Joseph Greene, San Diego Assistant Field       PRELIMINARY INJUNCTION
  19   Office Director, ICE, Otay Detention Facility;      WITH (CORRECTED)
       Kirstjen Nielsen, Secretary of DHS; Jefferson       EXHIBITS
  20   Beauregard Sessions III, Attorney General of the
       United States; Kevin K. McAleenan, Acting
  21   Commissioner of CBP; L. Francis Cissna,
       Director of USCIS; Pete Flores, San Diego Field
  22   Director, CBP; Fred Figueroa, Warden, Otay
       Mesa Detention Center; Alex Azar, Secretary of
  23   the Department of Health and Human Services;
       Scott Lloyd, Director of the Office of Refugee
  24   Resettlement,
  25
                              Respondents-Defendants.
  26

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   1                                    INTRODUCTION
   2         This case involves the government’s forcible separation of Petitioner Ms. L.,
   3
       a Congolese asylum seeker, from her daughter, S.S. 1 S.S., a seven (7) year-old
   4

   5   little girl, was taken from her mother nearly four months ago, frantically screaming
   6   that she did not want to leave her mommy. Since that time, S.S. has been held in a
   7
       facility in Chicago (where she celebrated her seventh birthday alone), while Ms. L.
   8

   9   has been detained in San Diego. There was no accusation that Ms. L. was an unfit
  10   parent, much less that she had engaged in abusive behavior toward her daughter.
  11
       Nor has Ms. L. ever even been told why her petrified daughter was taken from her.
  12

  13   Ms. L. brings this action to reunite with her daughter. The government can release
  14   both mother and daughter to a non-governmental shelter specializing in the care of
  15
       asylum-seeking families. Alternatively, if the government feels compelled to
  16

  17   continue detaining this mother and small child, it can detain them together in a
  18
       government family detention center. But one way or the other the government may
  19
       not continue to keep them apart.
  20

  21         Ms. L. has a substantial likelihood of prevailing on the merits of her due
  22
       process claim. It has long been settled that all “persons” are entitled to due process
  23
       under the Fifth Amendment, regardless of their immigration status. It has likewise
  24

  25   been established for more than a century that the Due Process Clause prohibits the
  26   1
        As set forth in Petitioner’s previously-filed motion to proceed under a pseudonym,
  27   Ms. L. is using only her initial for fear that exposure will result in harm to her. As a
       minor, her daughter is also proceeding under her initials. A photograph of S.S. is
  28
       attached to the (restricted) declaration of Elizabeth Lopez. See Ex. 11.
                                               1                                     18cv0428
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   1   government from separating a parent from her child absent the most compelling

   2   reasons. And the only reason the law recognizes as sufficiently compelling to tear a
   3
       young child away from her parent is to protect the child in extreme circumstances
   4
   5   when staying with the parent endangers the child. That has not even been alleged
   6   here, much less demonstrated. The government’s forcible separation also violates
   7
       the Administrative Procedure Act, because the government has provided no reason
   8
   9   at all for taking the drastic step of separating Petitioner from her child.
  10         Ms. L. also satisfies the other preliminary injunction factors. Any
  11
       conceivable harm that the government might try to claim in this case would be far
  12
  13   outweighed by the ongoing and potentially permanent harm to this 7 year-old little
  14   girl. The American Academy of Pediatrics has roundly denounced the recent
  15
       practice of separating immigrant children from their parents, and nine respected
  16
  17   medical experts from around the country have submitted declarations in this case
  18   similarly condemning the practice, noting the overwhelming scientific consensus
  19
       that separating young children from their parents causes severe and potentially
  20
  21   lasting damage. Ms. L. thus respectfully requests that the Court preliminarily
  22
       enjoin the government from continuing to keep her away from her daughter, and
  23
       allow them to be reunited in either a governmental or non-governmental facility.
  24
  25                                STATEMENT OF FACTS
  26
                Ms. L. and her daughter fled their home in the Democratic Republic of
  27
       Congo in fear for their lives. Ms. L. is Catholic so sought shelter with S.S. in a
  28

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   1   church for a few days before eventually escaping the Congo. Upon arriving in the

   2   United States, Ms. L. and her daughter presented themselves to border guards at the
   3
       San Ysidro Port of Entry on November 1, 2017. Although their native language is
   4
   5   Lingala, they were able to communicate to the border guards in broken Spanish that
   6   they feared returning to their country. Based on her expression of fear of returning
   7
       to the Congo, Ms. L. was referred for an initial asylum screening interview (called a
   8
   9   “credible fear interview”). Because the asylum officer determined that she had a
  10   significant possibility of ultimately obtaining asylum, she was placed into full
  11
       immigration proceedings to formally apply for asylum, a lengthy process. See Ms.
  12
  13   L. Decl., Ex. 10 ¶ 2; Lopez Decl., Ex. 9 ¶ 4.
  14         For approximately the first 4 days after arriving in the United States, Ms. L.
  15
       and S.S. were detained together, in what Ms. L. understood to be some sort of
  16
  17   motel. They were then brought to an immigration office and placed into separate
  18   rooms. Ms. L. heard her daughter frantically screaming that she did not want to
  19
       leave her mommy. That is the last time Ms. L. saw her daughter. Since that day,
  20
  21   Ms. L. has been detained in the Otay Mesa Detention Center in the San Diego area.
  22
       Her 7 year-old daughter was sent to Chicago, where she has remained in a facility
  23
       ever since, without her mother or anyone else she knows. Ms. L. was not told why
  24
  25   her daughter was taken from her or where she had been sent. About four days later,
  26
       the government finally arranged a phone call with S.S. Since that first call, there
  27
       have only been a handful of additional calls over the almost 4 months S.S. and her
  28

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    1   mother have been separated (and not a single video conference so that S.S. can

    2   actually see her mother). S.S. cries during these calls and is scared, both for herself
    3
        and her mother, repeatedly asking how her mother is doing in prison. Ms. L. is
    4
    5   likewise scared and depressed, constantly worried about her daughter, making it
    6   difficult for her to eat or sleep. See Ms. L. Decl., Ex. 10 ¶¶ 3-6.
    7
              The government has never offered any reason why Ms. L.’s daughter was
    8
    9   taken from her. Yet, almost 4 months later, 7 year-old S.S. remains detained 2,000
   10   miles away in Chicago, without her mother.
   11
                                         ARGUMENT
   12
   13         To obtain a preliminary injunction, a plaintiff must establish (1) “that he is
   14   likely to succeed on the merits,” (2) “that he is likely to suffer irreparable harm in
   15
        the absence of preliminary relief,” (3) “that the balance of equities tips in his
   16
   17   favor,” and (4) “that an injunction is in the public interest.” Winter v. Nat’l Res.
   18   Def. Council, Inc., 555 U.S. 7, 20 (2008). Courts evaluate these factors on a
   19
        “sliding scale.” Arc of Cal. v. Douglas, 757 F.3d 975, 983 (9th Cir. 2014)
   20
   21   (quotation marks omitted). A “stronger showing of irreparable harm to plaintiff
   22
        might offset a lesser showing of likelihood of success on the merits.” Alliance for
   23
        the Wild Rockies v. Cottrell, 632 F.3d 1127, 1131 (9th Cir. 2011). Thus, where the
   24
   25   balance of hardships “tips sharply towards the plaintiff,” the plaintiff need only
   26
        demonstrate “serious questions going to the merits.” Kaszuba v. Fidelity Nat’l
   27
        Default Servs., 2011 WL 601525, at *1 (S.D. Cal. Feb. 10, 2011) (Sabraw, J.)
   28

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    1   (quotation marks omitted).

    2   I. MS. L. IS LIKELY TO SUCCED ON THE MERITS OF HER CLAIMS.
    3
              Ms. L. is likely to succeed on her due process claim. See infra Section A.
    4
    5   She is also likely to succeed on her “arbitrary and capricious” claim under the
    6   Administrative Procedure Act (APA). See infra Section B. Accordingly, this case
    7
        can be decided on either constitutional or non-constitutional grounds.2
    8
    9         A.     The Government’s Separation of Ms. L. and Her Child Violates
                     Due Process.
   10
   11         The Fifth Amendment applies to all “persons” and thus applies to Ms. L. See
   12   infra Section A.1. And the separation of Ms. L. from her daughter patently violates
   13
        substantive due process because there has been no allegation, much less evidence,
   14
   15   that Ms. L. is an unfit mother. See infra Section A.2.
   16                1.     Ms. L. is protected by due process.
   17
              The Due Process Clause, by its terms, applies to any “person,” not just
   18
   19   citizens. And the Supreme Court has further held that the Clause applies to all
   20   noncitizens. See Plyler v. Doe, 457 U.S. 202, 210 (1982) (“Aliens, even aliens
   21
        whose presence in this country is unlawful, have long been recognized as ‘persons’
   22
   23   guaranteed due process of law by the Fifth and Fourteenth Amendments.”);
   24
        Mathews v. Diaz, 426 U.S. 67, 77 (1976) (“Even one whose presence in this
   25
        country is unlawful, involuntary, or transitory is entitled to that constitutional
   26
        2
   27     At this time, Ms. L. is not moving on her two other claims in the complaint: that
        her separation violates the asylum statutes (Count II), and that she has a right to
   28   release under ICE’s parole guidelines (Count IV).
                                                    5                                  18cv0428
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    1   protection.”); Wong Wing v. United States, 163 U.S. 228, 238 (1896) (explaining

    2   that “all persons within the territory of the United States are entitled to the
    3
        protection” the Due Process Clause); Yick Wo v. Hopkins, 118 U.S. 356, 369 (1886)
    4
    5   (explaining that due process protections are “universal in their application, to all
    6   persons within the territorial jurisdiction”).
    7
               The fact that Ms. L. and S.S. presented themselves at a port of entry and did
    8
    9   not enter the country is of no consequence for purposes of the due process analysis
   10   in this case. Individuals who present themselves at a port of entry are considered
   11
        “arriving” noncitizens and lack certain procedural due process rights to challenge
   12
   13   their exclusion from the country. See, e.g., Kwai Fun Wong v. United States, 373
   14   F.3d 952, 971-72 (9th Cir. 2004). Here, however, Ms. L.’s right to remain with her
   15
        daughter is a substantive due process right, and has nothing to do with her
   16
   17   eligibility to be formally admitted into the United States. And there is no question
   18   that all persons, whether arriving or not, have substantive due process rights.
   19
        Indeed, as Justice Scalia pointed out, if arriving noncitizens, who are physically on
   20
   21   U.S. soil, lacked substantive due process rights, it would mean border agents could
   22
        literally do anything, including “tortur[ing]” such individuals. Zadvydas v. Davis,
   23
        533 U.S. 678, 704 (2001) (Scalia, J., dissenting) (“I am sure [that people with no
   24
   25   right to enter the country] cannot be tortured . . . .”). 3
   26
   27   3
         Arriving noncitizens like Ms. L. are actually on U.S. soil, because Ports of Entry
   28   are physically located on U.S. territory. Thus, the idea that such individuals have
        not actually entered the United States is understood as a “legal fiction.” See Kwai
                                                      6                                   18cv0428
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    1         Accordingly, the Ninth Circuit and other courts have made clear that arriving

    2   noncitizens stopped at a port of entry have substantive due process rights. Kwai
    3
        Fun Wong, 373 F.3d at 973 (holding that non-admitted aliens, who may lack certain
    4
    5   procedural due process rights with respect to admission, are nonetheless protected
    6   by the due process clause); Chi Thon Ngo v. INS, 192 F.3d 390, 396 (3d Cir. 1999)
    7
        (“Even an excludable alien is a ‘person’ for purposes of the Fifth Amendment and
    8
    9   is thus entitled to substantive due process.”); Rosales-Garcia v. Holland, 322 F.3d
   10   386, 410 (6th Cir. 2003) (en banc) (“The fact that excludable aliens are entitled to
   11
        less process . . . does not mean that they are not at all protected by the Due Process
   12
   13   Clauses of the Fifth and Fourteenth Amendments.”), cert. denied, 539 U.S. 941
   14   (2003); Lynch v. Cannatella, 810 F.2d 1363, 1373 (5th Cir.1987) (the Constitution
   15
        “does not limit the right of excludable aliens detained within United States territory
   16
   17   to humane treatment”); Rodriguez-Fernandez v. Wilkinson, 654 F.2d 1382, 1387
   18   (10th Cir. 1981) (“[A]n excluded alien in physical custody within the United States
   19
        may not be ‘punished’ without being accorded the substantive and procedural due
   20
   21   process guarantees of the Fifth Amendment.”).4
   22
   23   Fun Wong, 373 F.3d at 970-71 (explaining the “entry fiction” by which an arriving
        noncitizen may be physically present on U.S. soil while still being deemed to not
   24   have “entered” for certain immigration purposes).
   25   4
         In the circumstances of this case, Ms. L.’s substantive due process right also
   26   carries with it a corresponding right to procedural due process. Arriving
        noncitizens lack procedural due process rights in the context of challenging their
   27   exclusion, since they have no absolute substantive constitutional right not to be
   28   excluded. Kwai Fun Wong, 373 F.3d at 971 (“The entry fiction thus appears
        determinative of the procedural rights of aliens with respect to their applications for
                                                   7                                 18cv0428
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    1                2.   The separation of Ms. L. and her child is unconstitutional
                     because there is no evidence of abuse or neglect.
    2
    3         The Due Process Clause forbids the government from separating a child from
    4   her parents absent a clear showing that the parent is endangering the child, and that
    5
        separation is necessary to protect the child. That is not the case here.
    6
    7         The Supreme Court has long recognized family integrity to be one of the
    8   most fundamental liberty interests that the Constitution protects. See, e.g., Santosky
    9
        v. Kramer, 455 U.S. 745, 753 (1982) (there is “a fundamental liberty interest of
   10
   11   natural parents in the care, custody, and management of their child”); Troxel v.
   12   Granville, 530 U.S. 57, 65-66 (2000) (plurality op.) (“[T]he interest of parents in
   13
        the care, custody, and control of their children [] is perhaps the oldest of the
   14
   15   fundamental liberty interests recognized by this Court.”) (collecting cases); Lee v.
   16   City of Los Angeles, 250 F.3d 668, 685 (9th Cir. 2001) (“It is well established that a
   17
        parent has a fundamental liberty interest in the companionship and society of his or
   18
   19   her child.”) (quotation marks omitted); Duchesne v. Sugarman, 566 F.2d 817, 825
   20   (2d Cir. 1977) (“[T]he most essential and basic aspect of familial privacy [is] the
   21
        right of the family to remain together without the coercive interference of the
   22
   23   awesome power of the state.”).
   24   admission.”) (emphasis in original); see also id. (“The entry doctrine has not,
   25   however, been applied, by the Supreme Court or by this court, to deny all
        constitutional rights to non-admitted aliens.”). Thus, in this case, if the government
   26   were ever to come forward with any actual grounds to justify taking S.S. away from
   27   Ms. L., Ms. L. would certainly be entitled to a hearing. Otherwise, the government
        could simply allege that Ms. L. and other asylum seekers were unfit parents and rip
   28   their children away, without any process.
                                                   8                                   18cv0428
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    1         In light of this fundamental liberty interest, the courts have been loath to

    2   allow the government to separate a child from her parent (particularly a child as
    3
        young as 7-years-old). See, e.g., United States v. Wolf Child, 699 F.3d 1082, 1092
    4
    5   (9th Cir. 2012) (“Interference with” the “fundamental right to familial association”
    6   “requires ‘a powerful countervailing interest.’”) (quoting Lassiter v. Dep’t of Social
    7
        Servs., 452 U.S. 18, 27 (1981)); Halet v. Wend Investment Co, 672 F.2d 1305,
    8
    9   1310-11 (9th Cir. 1982) (requiring compelling interest to deprive parents of their
   10   “fundamental right” to “live with their children”); Jordan by Jordan v. Jackson, 15
   11
        F.3d 333, 343 (4th Cir. 1994) (“[T]he relationship between parent and child [is]
   12
   13   inviolable except for the most compelling reasons.”).
   14         And as the courts have further made clear, in practice, this means that
   15
        separation may not occur absent a clear demonstration that the parent is abusing or
   16
   17   neglecting the child, or is a threat to the child’s safety in some way. See, e.g.,
   18   United States v. Loy, 237 F.3d 251, 269-70 (3d Cir. 2001) (“[W]here there is
   19
        insufficient evidence to support a finding that children are potentially in danger
   20
   21   from their parents, the state’s interest cannot be said to be ‘compelling,’ and thus
   22
        interference in the family relationship is unconstitutional.”); Southerland v. City of
   23
        New York, 680 F.3d 127, 152 (2d Cir. 2012) (family-integrity interest “is
   24
   25   counterbalanced by the compelling governmental interest in the protection of minor
   26
        children”); Heartland Acad. Comm. Church v. Waddle, 427 F.3d 525, 534 (8th Cir.
   27
        2005) (“[T]he right to family integrity cannot be absolute when the state has a
   28

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    1   compelling interest in protecting children from abuse.”).

    2         In short, in this case, the government has offered no legitimate basis, for
    3
        taking a 7 year-old child away from her mother for nearly 4 months. There's been
    4
    5   no evidence that Ms. L. has abused or neglected her daughter, or that she's an unfit
    6   parent. The separation thus violates due process.
    7
              B.     The Government’s Separation of Petitioner and Her Child
    8                Violates the APA Because It Is Arbitrary and Capricious.
    9         Courts must “set aside” an agency decision that is “arbitrary” or “capricious.”
   10
        5 U.S.C. § 706(2)(A). Under this standard, “a reviewing court must determine
   11
   12   whether . . . there has been a clear error of judgment.” Mt. St. Helens Mining &

   13   Recovery Ltd. Partnership v. United States, 384 F.3d 721, 728 (9th Cir. 2004). And
   14
        the agency must “supply a reasoned basis for the agency’s action.” Ctr. for
   15
   16   Biological Diversity v. Nat’l Highway Traffic Safety Admin., 538 F.3d 1172, 1193

   17   (9th Cir. 2008) (quotation marks omitted).
   18
              The government has provided no reason at all for separating Ms. L. and her
   19
   20   child. See Ms. L. Decl., Ex. 10 ¶ 3. Its complete failure to explain such a

   21   consequential decision is quintessential arbitrary government action. See Encinco
   22
        Motorcars, LCC v. Navarro, 136 S. Ct. 2117, 2127 (2016) (agency decision fails
   23
   24   this standard when “the agency . . . gave almost no reasons at all”); Arrington v.

   25   Daniels, 516 F.3d 1106, 1114 (9th Cir. 2008) (where agency “failed to set forth a
   26
        rationale for its decision,” the agency’s “lack of explanation for its choice renders
   27
   28   its decision arbitrary and capricious”). The government has facilities designed

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    1   precisely to house mothers and daughters together, not to mention the non-

    2   governmental shelters that exist for this purpose. There is no suggestion that
    3
        Petitioner is an unfit caretaker. And the government has provided no other reason
    4
    5   why Petitioner’s 7 year-old daughter should be detained alone, thousands of miles
    6   from her mother.
    7
        II.   SEPARATION OF PETITIONER FROM HER DAUGHTER HAS
    8         CAUSED AND WILL CONTINUE TO CAUSE IRREPARABLE
    9         INJURY.
   10         Defendants have violated and—unless enjoined—will continue to violate
   11
        Petitioner’s constitutional rights. “When an alleged deprivation of a constitutional
   12
   13   right is involved, most courts hold that no further showing of irreparable injury is
   14   necessary.” Warsoldier v. Woodford, 418 F.3d 989, 1001-02 (9th Cir. 2005)
   15
        (indicating that only a “colorable claim” of constitutional violation is needed to
   16
   17   establish irreparable harm at the preliminary injunction stage) (quotations and
   18   citation omitted); Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (“[T]he
   19
        deprivation of constitutional rights ‘unquestionably constitutes irreparable injury’”)
   20
   21   (quoting Elrod v. Burns, 427 U.S. 347, 373 (1976)).
   22
              But the injury here is not just the harm that generally flows from a
   23
        constitutional violation. The government in this case has forcibly separated a 7
   24
   25   year-old child from her mother. The trauma of that separation causes especially
   26
        severe irreparable injuries. See Stanley v. Illinois, 405 U.S. 645, 647 (1972)
   27
        (“[P]etitioner suffers from the deprivation of h[er] child[], and the child[] suffer[s]
   28

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    1   from uncertainty and dislocation.”); Leiva-Perez v. Holder, 640 F.3d 962, 969-70

    2   (9th Cir. 2011) (“separation from family members” constitutes irreparable harm)
    3
        (quotation marks omitted).
    4
    5         The American Academy of Pediatrics has denounced the recent practice of
    6   separating immigrant children from their parents, explaining that the “[s]eparation
    7
        of a parent or primary caregiver from his or her children should never occur, unless
    8
    9   there are concerns for [the] safety of the child at the hand of [the] parent.” 5 That
   10   view is echoed in the declarations in this case of nine medical and mental health
   11
        professionals across multiple fields from around the country, including
   12
   13   pediatricians, psychiatrists, psychologists, and social workers, with a combined 174
   14   years of experience working with families, including immigrant families. See Oo &
   15
        Schmidt Decl., Ex. 1 ¶ 1; Pena Decl., Ex. 2 ¶ 1; Griffin Decl., Ex. 3 ¶ 1; Carter
   16
   17   Decl., Ex. 4, ¶ 1; Linton Decl., Ex. 5 ¶ 1; Shapiro Decl., Ex. 6 ¶ 1; Fortuna Decl.,
   18   Ex. 7 ¶ 1; Melikian Decl., Ex. 8 ¶ 1.
   19
              As these medical experts observe, there is an “overwhelming body of
   20
   21   scientific literature” that is “replete with evidence of the irreparable harm and
   22
        trauma to children caused by separation from their parents.” Shapiro Decl., Ex. 6 ¶
   23
        13. This research makes clear that “separating children from their parents has a real
   24
   25   and substantial risk of leading to long-term (and irreversible) physiological,
   26
        5
   27    Policy Statement, Am. Acad. of Pediatrics, Detention of Immigrant Children, Mar.
        2017, http://pediatrics.aappublications.org/content/early/2017/03/09/peds.2017-
   28   0483.
                                                   12                                  18cv0428
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    1   developmental and psychological problems.” Fortuna Decl., Ex. 7 ¶ 21; see id. ¶¶

    2   13, 20 (describing a “significant risk for irreparable harm in regards to brain
    3
        development, psychological health and thus a trajectory of poor mental health,
    4
    5   learning and development throughout their life”); Carter Decl., Ex. 4 ¶ 6 (“The
    6   psychological effect of traumatic parent-child separation does not end when a child
    7
        is reunited with her parent. Its effect can create permanent harm that influences
    8
    9   them for the remainder of their lifespan.”).
   10         Courts have therefore held that any separation of parents and children visits
   11
        irreparable harm on both. See McLaughlin v. Pernsley, 876 F.2d 308, 315 (3d Cir.
   12
   13   1989) (holding that family separation causes irreparable harm because “the bonds
   14   between the [parents] and their foster child will weaken continuously with the
   15
        passage of time apart”); J.B. v. Washington County, 127 F.3d 919, 925 (10th
   16
   17   Cir.1997) (“[F]orced separation of parent from child, even for a short time,
   18   represents a serious infringement upon both the parents' and child's rights.”)
   19
        (internal quotations removed); Nicolson v. Pappalardo, 685 F.Supp.2d 142, 145-46
   20
   21   (D. Me. 2010) (holding that “[e]very additional day” of separation causes further
   22
        harm). As the Fourth Circuit recently explained, “[p]rolonged and indefinite
   23
        separation of parents [and] children . . . create not only temporary feelings of
   24
   25   anxiety but also lasting strains on the most basic human relationships.” Int’l
   26
        Refugee Assistance Project v. Trump, --- F.3d ---, 2018 WL 894413, at *18 (4th
   27
        Cir. Feb. 15, 2018).
   28

                                                  13                                   18cv0428
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    1          These harms are magnified by other traumatic events recently experienced by

    2   Ms. L. and her child, including the fact that they had to flee from their home, and
    3
        are now detained in a foreign country. Children who have faced recent trauma have
    4
    5   a “heightened risk” of long-term emotional damage when they are separated from
    6   their parents. Fortuna Decl., Ex. 7 ¶ 8; see Shapiro Decl., Ex. 6 ¶¶ 8-9 (describing
    7
        traumatic context of detention). The reasons are clear to any parent and confirmed
    8
    9   by the scientific literature. “Children need their parent’s physical presence to
   10   successfully recover from traumatic events in their lives.” Melikian Decl., Ex. 8 ¶
   11
        6. When they lose that parental buffer, they are susceptible to what pediatricians
   12
   13   and psychiatrists have termed “toxic stress,” Linton Decl., Ex. 4 ¶ 4.b, which
   14   “threatens the developing brain and is associated with subsequent development of
   15
        physical health problems such as diabetes and heart disease, mental health
   16
   17   problems, and school failure,” Linton Decl., Ex. 4 ¶ 4.c.
   18          Defendants’ actions are thus “doubly harmful,” because they impose the new
   19
        trauma of separation while robbing Petitioner’s little daughter of her parental buffer
   20
   21   to cope with that and other traumas. Shapiro Decl., Ex. 6 ¶ 13. Every day they are
   22
        separated increases this harm and the risk of lasting damage. See Pena Decl., Ex 2
   23
        ¶ 9; Oo & Schmidt Decl., Ex. 1 ¶ 7.
   24
   25
   26
   27
        III.   THE BALANCE OF HARDSHIPS AND PUBLIC INTEREST WEIGH
   28
               DECIDELY IN FAVOR OF REUNITING PETITIONER WITH HER
                                                  14                                 18cv0428
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    1         DAUGHTER.
    2         When ruling on a preliminary injunction motion, “a court must balance the
    3
        competing claims of injury and must consider the effect on each party of the
    4
    5   granting or withholding of the requested relief.” Arc of Cal., 757 F.3d at 991
    6   (quoting Amoco Prod. Co. v. Village of Gambell, 480 U.S. 531, 542 (1987)). The
    7
        relief requested here would cause no injury to Defendants, since a government
    8
    9   agency “cannot suffer harm from an injunction that merely ends an unlawful
   10   practice . . . .” Rodriguez v. Robbins, 715 F.3d 1127, 1145 (9th Cir. 2013) (citation
   11
        omitted). And the Ninth Circuit has repeatedly held that “it is always in the public
   12
   13   interest to prevent the violation of a party’s constitutional rights.” Melendres, 695
   14   F.3d at 1002 (quoting Sammartano v. First Judicial District Court, 303 F.3d 959,
   15
        974 (9th Cir. 2002)).
   16
   17         Moreover, irrespective of the general harm caused by any constitutional
   18   violation, the particular and ongoing harms to Petitioner and her little girl in this
   19
        case far outweigh any injury Defendants might claim to suffer. See Hawaii v.
   20
   21   Trump, 878 F.3d 662, 699 (9th Cir. 2017) (holding that plaintiffs’ “prolonged
   22
        separation from family members” outweighed any harm to the government)
   23
        (quotation marks omitted). Given this harm, documented by medical experts, the
   24
   25   balance of harms and public interest militate strongly in favor of immediately
   26
        reuniting this little girl and her mother.
   27
                                             *       *    *
   28

                                                     15                                18cv0428
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    1         Ms. L. respectfully requests that she and her daughter be released so they can

    2   be reunited in a non-governmental shelter, or alternatively, that they be
    3
        detained together in a government family detention center. But one way or the
    4
    5   other, she and her daughter should be reunited, to end this nearly four-month ordeal
    6   that no parent and child should ever have to endure.
    7
                                          CONCLUSION
    8
    9         The Court should grant the preliminary injunction and reunite Ms. L. and her
   10   daughter.
   11
   12
        Dated: March 3, 2018                      Respectfully Submitted,
   13
                                                  /s/Lee Gelernt
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   25   *Admitted Pro Hac Vice
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   28

                                                  16                                18cv0428
Case 3:18-cv-00428-DMS-MDD Document 21-1 Filed 03/03/18 PageID.486 Page 23 of 96



                                CERTIFICATE OF SERVICE
    1

    2         I hereby certify that on March 3, 2018, I electronically filed the
    3
        foregoing with the Clerk for the United States District Court for the Southe
    4

    5
        rn District of California by using the appellate C M/ECF system. A true and

    6   correct copy of this brief has been served via the Court’s CM/ECF system on all
    7
        counsel of record.
    8
                                                  /s/ Lee Gelernt
    9                                             Lee Gelernt, Esq.
   10

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                          EXHIBITS TO COMPLAINT

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                             UNITED STATES DISTRICT COURT
   13                      SOUTHERN DISTRICT OF CALIFORNIA
   14
        Ms. L.,
   15

   16                         Petitioner-Plaintiff,
        v.
   17                                                           Case No. 18-cv-00428-DMS-
                                                                MDD
   18   U.S. Immigration and Customs Enforcement
        (“ICE”); U.S. Department of Homeland Security
   19
        (“DHS”); U.S. Customs and Border Protection
   20   (“CBP”); U.S. Citizenship and Immigration              JOINT DECLARATION OF
        Services (“USCIS”); U.S. Department of Health          HEYMAN OO AND CAREN
   21
        and Human Services (“HHS”); Office of                  SCHMIDT
   22   Refugee Resettlement (“ORR”); Thomas
        Homan, Acting Director of ICE; Greg
   23
        Archambeault, San Diego Field Office Director,
   24   ICE; Joseph Greene, San Diego Assistant Field
        Office Director, ICE, Otay Detention Facility;
   25
        Kirstjen Nielsen, Secretary of DHS; Jefferson
   26   Beauregard Sessions III, Attorney General of the
        United States; Kevin K. McAleenan, Acting
   27
        Commissioner of CBP; L. Francis Cissna,
   28   Director of USCIS; Pete Flores, San Diego Field
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    1   Director, CBP; Fred Figueroa, Warden, Otay
        Mesa Detention Center; Alex Azar, Secretary of
    2   the Department of Health and Human Services;
    3   Scott Lloyd, Director of the Office of Refugee
        Resettlement,
    4
                             Respondents-Defendants.
    5
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA



   Ms. L.,
                               Petitioner,
               v.

                                                      CASE NO. _____________________
   U.S. Department of Homeland Security
   (“DHS”); U.S. Customs and Border
   Protection (“CBP”); U.S. Citizenship and
   Immigration Services (“USCIS”); U.S.
   Immigration and Customs Enforcement
   (“ICE”); Kirstjen Nielsen, Secretary of DHS;
   Jefferson Beauregard Sessions III, Attorney
   General of the United States; Kevin K.
   McAleenan, Acting Commissioner of CBP;
   Thomas Homan, Acting Director of ICE; L.
   Francis Cissna, Director of USCIS; Pete
   Flores, San Diego Field Director, CBP; Greg
   Archambeault, San Diego Field Office
   Director, ICE; Fred Figueroa, Warden, Otay
   Mesa Detention Center,

                               Respondents.


             JOINT DECLARATION OF HEYMAN OO AND CAREN SCHMIDT

  I, Heyman Oo, MD, MPH and I, Caren Schmidt, Psy D, make the following declaration based on

  our personal knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746

  that the following is true and correct:

     1. We have not directly treated the Petitioner but were asked to give this declaration based

         on our collective knowledge and over 25 years of combined experience working with

         vulnerable children and families, including immigrants and trauma survivors.




                                                  1
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                        Exhibit 2




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    1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
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   11    Additional counsel on next page
   12
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   13                      SOUTHERN DISTRICT OF CALIFORNIA
   14
        Ms. L.,
   15

   16                         Petitioner-Plaintiff,
        v.
   17                                                           Case No. 18-cv-00428-DMS-
        U.S. Immigration and Customs Enforcement                MDD
   18
        (“ICE”); U.S. Department of Homeland Security
   19   (“DHS”); U.S. Customs and Border Protection
   20   (“CBP”); U.S. Citizenship and Immigration               DECLARATION OF
        Services (“USCIS”); U.S. Department of Health
   21
                                                                CRISTINA MUNIZ DE LA
        and Human Services (“HHS”); Office of
                                                                PENA
   22   Refugee Resettlement (“ORR”); Thomas
        Homan, Acting Director of ICE; Greg
   23   Archambeault, San Diego Field Office Director,
   24   ICE; Joseph Greene, San Diego Assistant Field
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   27   Commissioner of CBP; L. Francis Cissna,
   28   Director of USCIS; Pete Flores, San Diego Field
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    1   Director, CBP; Fred Figueroa, Warden, Otay
        Mesa Detention Center; Alex Azar, Secretary of
    2   the Department of Health and Human Services;
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                             Respondents-Defendants.
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   Ms. L.,




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                        Exhibit 3




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    1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
         Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
    2    Anand Balakrishnan*                          DIEGO &
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    9    abalakrishnan@aclu.org
   10    Attorneys for Petitioner-Plaintiff
   11    Additional counsel on next page
   12
                             UNITED STATES DISTRICT COURT
   13                      SOUTHERN DISTRICT OF CALIFORNIA
   14
        Ms. L.,
   15

   16                         Petitioner-Plaintiff,
        v.
   17                                                          Case No. 18-cv-00428-DMS-
        U.S. Immigration and Customs Enforcement               MDD
   18
        (“ICE”); U.S. Department of Homeland Security
   19   (“DHS”); U.S. Customs and Border Protection
        (“CBP”); U.S. Citizenship and Immigration
   20
        Services (“USCIS”); U.S. Department of Health          DECLARATION OF
   21   and Human Services (“HHS”); Office of                  MARSHA R. GRIFFIN
   22   Refugee Resettlement (“ORR”); Thomas
        Homan, Acting Director of ICE; Greg
   23   Archambeault, San Diego Field Office Director,
   24   ICE; Joseph Greene, San Diego Assistant Field
        Office Director, ICE, Otay Detention Facility;
   25   Kirstjen Nielsen, Secretary of DHS; Jefferson
   26   Beauregard Sessions III, Attorney General of the
        United States; Kevin K. McAleenan, Acting
   27   Commissioner of CBP; L. Francis Cissna,
   28   Director of USCIS; Pete Flores, San Diego Field
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    1   Director, CBP; Fred Figueroa, Warden, Otay
        Mesa Detention Center; Alex Azar, Secretary of
    2   the Department of Health and Human Services;
    3   Scott Lloyd, Director of the Office of Refugee
        Resettlement,
    4
                             Respondents-Defendants.
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   10   Spencer E. Amdur (SBN 320069)
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    1,
                              DECLARATION OF MARSHA R. GRIFFIN

    2
    a
    J    I, Marsha R. Griffin, MD, make the following declaration based on my personal

    4    knowledge and declare under the penalty of perjury as set forth in 28 U.S.C. $ 1746
    5
         that the following is true and correct.
    6

            1. I am a Board Certified Pediatrician through the American Board of Pediatrics
     B
                  (since 2006) and alicensed physician in the state of Texas. I am a Professor
     9
                  of Pediatrics at the University of Texas Rio Grande Valley School   of
   10

   11,            Medicine (UTRGV SOM). I am the Co-Chair of the American Academy of

   12                                                                                         of
                  Pediatrics (AAP) Immigrant Health Special Interest Group and a member
   13
                  the AAP Council on Community Pediatrics.      I am a co-author of the AAP
   14

   15             Policy Statement "Detention of Immigrant Children," ur$ a contributing
    16            .author of the,AAP Immigrant Health Toolkit. I am also the Director of the
            .':
    tt
                  UTRGV SOM Division of Child and Family Health and the Director of the
    18

    19            UTRGV SOM Department of Pediatrics Community for Children Program.
   20
                  My clinical and academic work    is focused on the care of immigrant children
   21,
                  along the border of Texas and Mexico.
   22

   23       2. I completed my M.D.      degree at the University of Texas Health Science

    24       .    Center at San Antonio (UTHSCSA) in 2003, followed by pediatric residency
    25
                  at Baylor College of Medicine, Texas Children's Hospital from 2003 through
    26

    27             2005 and a final year of pediatric residency a|UTHSCSA in 2006. I then

    28
                  spent over ten years serving in a Federally Qualified Health Center,
                                                      1                         Exhibit 3, Page 38
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                                                                               for the
   1,
             Brownsville Community Health Cenler in Brownsville, Texas, caring
                                                                                and their
   2         poorest of the poor along the southern border. Most of my patients
   a
   J
             families were Spanish speaking only immigrant families. Since
                                                                           2014,I have
   4
                                                                                   for
    5        volunteered my services at the Catholic Charities Humanitarian Center

    6        recently released immigrants from the Customs and Border Protection
    7
             Processing Center in McAllen, Texas'
    B

           3. I am making this declaration   based on my clinical experience as a
    9

   10         pediatrician providing clinic al carc to immigrant children and academic
   11,
                                               families. This statement is my own      and not
              expertise serving children and
   1.2

   13         on behalf of any group with whom      I am affiliated'

   14
           4. I have not personally met with the child in this lawsuit.   The following are

   15
                                                                                   parent
              my concerns, in general, about how separatinga child from his or her
   16

   17         would adversely affect his or her health, development and well-being,

   1B
              especially where there has already been trauma'
   19
           5. unless the   child's safety is at risk from the parent, the separation of a child
   20
                                                                                and long-
   21,        from the parent is harmful to the child. This harm can be serious

   22
               lasting in the setting of previous trauma'
   23
                                                                                such as his or
           6. Prolonged stress in the absence of a supportive relationship,
    24

    25         her primary caregiver, cancause what is known as toxic stress'

    26                                                                     toxic stress can
            7: Medical research   has provided evidence that childhood
    27
               damage the developing brain and is associated      with subsequent development
    28

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     1,
                 of physical health problems such as diabetes and heart disease, mental health

     2           problems, behavioral problems and school failure.
     a
     J
           8. In my role as a physician, I attest that the separation of a child from a loving
     4

     5           parent places a child at risk for the long-term serious impacts of toxic stress.

     6     9. I have witnessed      the painful effects of parental separation in the immigration
     7
                 setting. I examined a six-year-old girl exhibiting symptoms of possible
     B

     9           PTSD and separation anxiety with hyperarousal, excessive clinginess and

    10
                 aggressive behavior after witnessing violence in her home country      of
    1,1
                 Guatemala, andwho was then subsequently separated from her father at the
    1,2

    1.3          Rio Grande Valley Sector Customs and Border Processing Center. I have

    1.4
                 seen-   10-year old boys hetd in locked chain-link enclosures at the same CBP
    15
                 Processing Center sobbing and reaching through the chain-link fencing
    16
           .t:

    1.7          screaming for their mothers, who were being held in separate enclosures

    18
                 approximately 50 feet away. There may be nothing more frightening for a
    1,9
                 vulnerable child than to be forcibly separated from their parent. Even this
    20

    21           short-term separation will have turtirrg impact on their physical and
    22
                 emotional well-being.
    23
             10. Separation of children from their parents threatens the parent-child
    24

    25           relationship, especially if the child believes that the parent should have been
    26
                 capable of preventing the separation and thus any imagined or real
    27
                 subsequent    injury. In a child's mind, a parent is supposed to protect them
    28

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      1       from evil and dangers. When the parent or primary caregiver is seen                as

      2       impotent in a dangerous situation, this threatens their trust in that caregiver
      a
      J
              and   will   be   difficult to restore.
      4

      5    11. Based on my medical experience and training,          I believe that, if at all

      6       possible, it is never in the best interest of a child to be separated from their
      7
              parent, especially any child who was forced to flee their home country.
      8

      9    12. Prolonged separation from a parent can only exacerbate the irreparable

    10
              short- and long-term damage to a child's health and wellbeing.
    1,1,

   '12     13.I declare under penalty of perjury under the laws of the United States             of

    13        America that the foregoing is true and correct, based on my personal

    1,4
              knowledge. Executed in Brownsville, Texas, on Febru ary 28,2018.
                    'a
    15

    16

    17

    18

    19
                                                Marsha R. Griffin,
   20

   21

   22

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                        Exhibit 4




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    1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
         Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
    2    Anand Balakrishnan*                          DIEGO &
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         UNION FOUNDATION                             P.O. Box 87131
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   16                         Petitioner-Plaintiff,
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        (“ICE”); U.S. Department of Homeland Security
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   20                                                           DECLARATION OF LEE
        Services (“USCIS”); U.S. Department of Health
   21                                                           CARTER
        and Human Services (“HHS”); Office of
   22   Refugee Resettlement (“ORR”); Thomas
        Homan, Acting Director of ICE; Greg
   23   Archambeault, San Diego Field Office Director,
   24   ICE; Joseph Greene, San Diego Assistant Field
        Office Director, ICE, Otay Detention Facility;
   25   Kirstjen Nielsen, Secretary of DHS; Jefferson
   26   Beauregard Sessions III, Attorney General of the
        United States; Kevin K. McAleenan, Acting
   27   Commissioner of CBP; L. Francis Cissna,
   28   Director of USCIS; Pete Flores, San Diego Field
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    1   Director, CBP; Fred Figueroa, Warden, Otay
        Mesa Detention Center; Alex Azar, Secretary of
    2   the Department of Health and Human Services;
    3   Scott Lloyd, Director of the Office of Refugee
        Resettlement,
    4
                             Respondents-Defendants.
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   10   Spencer E. Amdur (SBN 320069)
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   Ms. L.,




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                        Exhibit 5




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Case 3:18-cv-00428-DMS-MDD Document 21-1 Filed 03/03/18 PageID.519 Page 56 of 96



    1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
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   16                         Petitioner-Plaintiff,
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        (“ICE”); U.S. Department of Homeland Security
   19   (“DHS”); U.S. Customs and Border Protection
        (“CBP”); U.S. Citizenship and Immigration
   20
        Services (“USCIS”); U.S. Department of Health           DECLARATION OF JULIE
   21   and Human Services (“HHS”); Office of                   M. LINTON
        Refugee Resettlement (“ORR”); Thomas
   22
        Homan, Acting Director of ICE; Greg
   23   Archambeault, San Diego Field Office Director,
        ICE; Joseph Greene, San Diego Assistant Field
   24
        Office Director, ICE, Otay Detention Facility;
   25   Kirstjen Nielsen, Secretary of DHS; Jefferson
   26
        Beauregard Sessions III, Attorney General of the
        United States; Kevin K. McAleenan, Acting
   27   Commissioner of CBP; L. Francis Cissna,
   28
        Director of USCIS; Pete Flores, San Diego Field

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    1   Director, CBP; Fred Figueroa, Warden, Otay
        Mesa Detention Center; Alex Azar, Secretary of
    2   the Department of Health and Human Services;
    3   Scott Lloyd, Director of the Office of Refugee
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                             Respondents-Defendants.
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   10   Spencer E. Amdur (SBN 320069)
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                        Exhibit 6




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        ICE; Joseph Greene, San Diego Assistant Field
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        Beauregard Sessions III, Attorney General of the
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   27   Commissioner of CBP; L. Francis Cissna,
   28   Director of USCIS; Pete Flores, San Diego Field
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    1   Director, CBP; Fred Figueroa, Warden, Otay
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    2   the Department of Health and Human Services;
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    Ms. L.,




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                        Exhibit 7




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        Services (“USCIS”); U.S. Department of Health          DECLARATION OF LISA R.
   21   and Human Services (“HHS”); Office of                  FORTUNA
   22   Refugee Resettlement (“ORR”); Thomas
        Homan, Acting Director of ICE; Greg
   23   Archambeault, San Diego Field Office Director,
   24   ICE; Joseph Greene, San Diego Assistant Field
        Office Director, ICE, Otay Detention Facility;
   25   Kirstjen Nielsen, Secretary of DHS; Jefferson
   26   Beauregard Sessions III, Attorney General of the
        United States; Kevin K. McAleenan, Acting
   27   Commissioner of CBP; L. Francis Cissna,
   28   Director of USCIS; Pete Flores, San Diego Field
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    1   Director, CBP; Fred Figueroa, Warden, Otay
        Mesa Detention Center; Alex Azar, Secretary of
    2   the Department of Health and Human Services;
    3   Scott Lloyd, Director of the Office of Refugee
        Resettlement,
    4
                             Respondents-Defendants.
    5
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   10   Spencer E. Amdur (SBN 320069)
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                                                                     Exhibit 7, Page 67
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA


   Ms. L.,
                               Petitioner,
                v.

   U.S. Department of Homeland Security
   (“DHS”); U.S. Customs and Border                  CASE NO. _____________________
   Protection (“CBP”); U.S. Citizenship and
   Immigration Services (“USCIS”); U.S.
   Immigration and Customs Enforcement
   (“ICE”); Kirstjen Nielsen, Secretary of DHS;
   Jefferson Beauregard Sessions III, Attorney
   General of the United States; Kevin K.
   McAleenan, Acting Commissioner of CBP;
   Thomas Homan, Acting Director of ICE; L.
   Francis Cissna, Director of USCIS; Pete
   Flores, San Diego Field Director, CBP; Greg
   Archambeault, San Diego Field Office
   Director, ICE; Fred Figueroa, Warden, Otay
   Mesa Detention Center,

                               Respondents.

                             DECLARATION OF LISA R. FORTUNA


   I, Lisa R. Fortuna, MD, MPH, M.Div., make the following declaration based on my personal

   knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the

   following is true and correct:

          1.! I have not directly treated the Petitioner but was asked to give this declaration based

              on my knowledge as a psychiatrist with over 20 years of experience working with

              vulnerable children and families, including immigrants and trauma survivors.

          2.! I am a graduate of Yale University (BA in Psychology 1991); I earned a Doctor of

              Medicine (MD) degree from New Jersey Medical School in 1996; a Masters of Public

              Health (MPH) from Hunter College School of Public Health, City University of New

              York in 2000, a Masters of Divinity in 2012 and I completed a Pediatric Health



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           Services Research Fellowship at Harvard Medical School, Boston in 2003.

        3.! I am board certified in general psychiatry and child and adolescent psychiatry

           (Diplomat of the American Board of Psychiatry and Neurology), and addiction

           medicine. I am a health services researcher and have been an investigator on both

           national and international studies of immigrant and refugee mental health and the

           impact of trauma and post-traumatic stress in children. My work has contributed to

           the field’s understanding of treatment needs and interventions for immigrant and

           refugee children and adults. My clinical training and experience in the practice of

           psychiatry and child and adolescent psychiatry offers me skills and specialization in

           the psychological and social development of individuals across the life span and the

           impact of biology, traumatic stress and environment on mental health.

        4.! I am the Director of the Section (Division) of Child and Adolescent Psychiatry for the

           Boston Medical Center (BMC), and Assistant Professor in the Department of

           Psychiatry at Boston University School of Medicine, where I conduct child

           behavioral health and disparities research and practice clinical psychiatry (treating

           children and youth ages 3 to 21). Our clinical division includes offering child-parent

           psychotherapy, a dyadic approach for young children (0-5 years of age) and parents

           who have both experienced trauma. In this latter context I have developed clinical

           experience in working with young immigrant and refugee children who have

           experienced trauma, including witnessing violence and traumatic separations.

        5.! My clinical career has focused on treating a range of childhood psychiatric disorders

           and I have particular interest and expertise in Post-Traumatic Stress Disorder (PTSD),

           access to care, and quality of treatment for underserved and vulnerable populations




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           including children, immigrant and refugee populations. I am a cofounder of the

           Refugee Immigrant Assistance Center Community Counseling (RIAC-CC), a mental

           health clinic in Boston. My clinical work at RIAC involves the mental health

           assessment and treatment of immigrant and refugee patients. I have served as a

           clinical investigator on several National Institutes of Health funded research projects

           with most of this work focused on immigrant mental health. I conduct collaborative

           research with colleagues both nationally and internationally, including most recently

           a clinical intervention research study of Latino immigrants in the United States and

           Spain.

        6.! I have published several articles and a book in the field of psychiatry, largely on

           issues related to immigrant (including unaccompanied minors) and minority mental

           health, PTSD and adolescent substance use disorders. I have included my curriculum

           vitae with this declaration, attached hereto as Appendix 1. The following are select

           publications relevant to this declaration:

               a.!     Fortuna LR, Porche MV, Alegria M. Political violence, psychosocial

                       trauma, and the context of mental health services use among immigrant

                       Latinos in the United States. Ethnicity & Health 2008 Nov;13(5):435!63.

                       PMCID: PMC2771411.

               b.!     Porche, MV, Fortuna, LR, Lin, J. & Alegria M. (2011) Childhood trauma

                       events and psychiatric disorders as correlates of school dropout in a national

                       sample of young adults, Child Development. 82, 982-998. PMCID:

                       PMC3089672.

               c.!     Fortuna LR, Alvarez K, Ramos Ortiz Z, Wang Y, Mozo Alegría X, Cook




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                       BL, Alegría M. Mental health, migration stressors and suicidal ideation

                       among Latino immigrants in Spain and the United States. European

                       Psychiatry. 2016 Aug; 36:15-22. PMID: 27311103.

               d.!     Ramos Z, Fortuna L.R, Porche MV, Wang Y, Shrout PE, Loder S, McPeck

                       S, Noyola N, Toro M, Carmona R, Alegría M. Posttraumatic Stress

                       Symptoms and their Relationship to Drug and Alcohol use in an

                       International Sample of Latino Immigrants. J Immigrant and Minority

                       Health. 2016 May 5. PMID: 27150593.

        7.! To prepare this declaration, I reviewed the scientific literature in addition to relying on

            the knowledge accumulated during my education, research and clinical experience

            described above.

        8.! It is my opinion that immigrant and refugee young children who have faced

            psychological trauma are at heightened risk of suffering from irreversible,

            psychological harm and especially if a child also experiences a traumatic separation

            from their parent. Based on my review of scientific and medical literature, as well as

            my practice in the field, my opinions are as follows.

     Separation for a Primary Attachment Figure is Psychologically Hazardous for Young

                                Immigrant and Refugee Children

        9.! Children who are detained are at risk of a variety of psychosocial and developmental

            problems linked to their detention experiences. A variety of factors contribute to the

            distress experienced by children who are held in detention, including previous trauma

            experienced in their home country or during migration, disruption of the family unit,

            separation from parents and poor and unsafe conditions of detention (Young & Gordon,



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               2016).1

         10.!The study of attachment has illuminated the critical role of early caregiving

               relationships in fostering healthy development and forming a basis for future

               relationships and mental health well-being (Ainsworth, Blehar, Waters, & Wall, 2015;

               Bowlby, 1988; Freud & Burlingham, 1943; Lyons-Ruth, 1996; Lyons-Ruth, Zoll,

               Connell, & Grunebaum, 1986). The loss of a parent is a severe hardship for any child;

               children who have suffered traumatic stress and other losses as many refugee/ asylum

               seeking children have, are particularly vulnerable to negative psychological

               consequences related to separation from parent.

         11.!Risk factors known to be especially hazardous for children include separations from

               their primary attachment figure and loss or disappearance of a parent, exposure to

               traumatic events such as abuse, and damaging social environments (Carlson, 2012).

         12.!In my clinical practice, I have evaluated several children asylum seekers whose anxiety,

               depression and post-traumatic stress are worsened during periods of uncertainty, times

               of separation from primary caregiver and when he or she is unable to have the physical

               and emotional protection from his or her parent.

     Children Who Have Experienced Traumatic Loss are at Risk of Suffering Irreparable

                                  Harm to Their Brain Development

         13.!Severe stress such as traumatic separations in infancy and childhood may have serious,

               long-lasting effects on a child’s brain development, affecting future manifestations of

               negative emotions, maladaptive behaviors, and conflictual attachments. As a result,

               children thus affected operate in a survival mode, rather than learning to flexibly adapt



         1
             Complete citations for medical literature cited herein is referenced in Appendix 2.


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            to environmental demands

         14.!Factors such as the level of supervision, familial and social support make a difference

            in the level of distress children experience. Hodes et al., (2008) discovered that PTSD

            and depressive disorders were significantly higher in children with low-support living

            arrangements as compared to those with good social supports and attachments.

         15.!In addition to the issue of support, a host of risks and influences create and exacerbate

            mental distress among children including if children have lost their home, belongings,

            family and friends (Carlson et al., 2012). Other influences on stress include language

            barriers, uncertainty about asylum status, fears of deportation, the process of

            immigration itself, and the lack of personal and structural support all contribute to the

            distress experienced by a child and the long-term risk to their cognitive and emotional

            development (Bronstein & Montgomery, 2011).

         16.!The mental health risks thus far described may surface or be aggravated when children

            are placed in confined, institutional settings and are also separated from family

            members (Lee, 2012). Social isolation and being deprived of ones caretakers are risk

            factors for poor psychological outcomes (Ehnthold & Yule, 2006; Ellis, et al., 2008;

            Grove & Zwi, 2006).

     Children Who Have Experienced Traumatic Loss Are at Risk of Suffering Irreparable

                                   Harm to their Mental Health

         17.!Traumatic exposures, especially long term and recurrent, combined with the loss of

            attachment figures and social instability can impede personality and identity

            development and subsequently impair functioning (Howard et al, 2011; Smid et al.,

            2011).




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        18.!Bronstein and Montgomery (2011) examined the developmental impact on refugee

           immigrant children highlighting the uncertainty that is created for these children due to

           separations from attachment figures and the challenges this presents to their learning,

           functioning and well-being. Without parents, family and others who care about them

           to fill emotional needs, a child’s adaptive processes are impaired by their uncertain

           future prospects (Chavez & Menjivar, 2010). In the long term, this can result in school

           failure, drop out, persistent poverty and hopelessness and even suicidality later in life

           (Fortuna et al., 2016; Porche et al., 2011).

        19.!Children of families seeking asylum have by definition experienced traumatic stress,

           often severe in nature. The more terror inducing the trauma is and the longer its duration

           is, particularly when combined with the absence of a parent, the more devastating its

           effects on children (Boothby, 1994). Trauma exposure in children and adolescents can

           impede personality development, causing disturbances in sense of self, impairment of

           basic trust, attachment disorders, and sharp deterioration in functioning (van der Kolk,

           1996; Carlson, 2012). This adversely impacts interpersonal attachments and

           developments in the future (Moro, 2003).

        20.!It is my opinion that when refugee and immigrant children, especially young children

           are separated from their parent and primary attachment figure, they are placed at

           significant risk for irreparable harm in regards to brain development, psychological

           health and thus a trajectory of poor mental health, learning and development throughout

           their life. I treat children in my clinical practice who range the ages of 3 to 17 years old

           who are still recovering from past separations and traumatic losses. Children who are

           seeking asylum who are accompanied by their parents, should be maintained together




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              with their parent/ primary attachment figure. Imposing a traumatic separation upon a

              child and their parent further increases the risk that the child will develop long-term

              psychological consequences and that the dyadic relationship will be harmed.

                                          Clinical Recommendation

          21.!Based on my clinical experience and the foregoing analysis, it is my opinion that

              separating children from their parents has a real and substantial risk of leading to

              long-term (and irreversible) physiological, developmental and psychological

              problems. If children and parents are detained it is absolutely necessary, that they are

              not separated from one another.



   I declare under penalty of perjury under the laws of the United States of America that the

   foregoing is true and correct, based on my personal knowledge. Executed in Boston,

   Massachusetts on February 17, 2018




                  Lisa R. Fortuna, MD, MPH, M.Div.




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                        Exhibit 8




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    1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
         Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
    2    Anand Balakrishnan*                          DIEGO &
    3    AMERICAN CIVIL LIBERTIES                     IMPERIAL COUNTIES
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   10    Attorneys for Petitioner-Plaintiff
   11    Additional counsel on next page
   12
                             UNITED STATES DISTRICT COURT
   13                      SOUTHERN DISTRICT OF CALIFORNIA
   14
        Ms. L.,
   15

   16                         Petitioner-Plaintiff,
        v.
   17                                                           Case No. 18-cv-00428-DMS-
        U.S. Immigration and Customs Enforcement                MDD
   18
        (“ICE”); U.S. Department of Homeland Security
   19   (“DHS”); U.S. Customs and Border Protection
        (“CBP”); U.S. Citizenship and Immigration
   20
        Services (“USCIS”); U.S. Department of Health         DECLARATION OF KAREN
   21   and Human Services (“HHS”); Office of                 MELIKIAN
   22   Refugee Resettlement (“ORR”); Thomas
        Homan, Acting Director of ICE; Greg
   23   Archambeault, San Diego Field Office Director,
   24   ICE; Joseph Greene, San Diego Assistant Field
        Office Director, ICE, Otay Detention Facility;
   25   Kirstjen Nielsen, Secretary of DHS; Jefferson
   26   Beauregard Sessions III, Attorney General of the
        United States; Kevin K. McAleenan, Acting
   27   Commissioner of CBP; L. Francis Cissna,
   28   Director of USCIS; Pete Flores, San Diego Field

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    1   Director, CBP; Fred Figueroa, Warden, Otay
        Mesa Detention Center; Alex Azar, Secretary of
    2   the Department of Health and Human Services;
    3   Scott Lloyd, Director of the Office of Refugee
        Resettlement,
    4
                             Respondents-Defendants.
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   10   Spencer E. Amdur (SBN 320069)
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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF CALIFORNIA



   Ms. L.,
                               Petitioner,
               v.

   U.S. Department of Homeland Security               CASE NO. _____________________
   (“DHS”); U.S. Customs and Border
   Protection (“CBP”); U.S. Citizenship and
   Immigration Services (“USCIS”); U.S.
   Immigration and Customs Enforcement
   (“ICE”); Kirstjen Nielsen, Secretary of DHS;
   Jefferson Beauregard Sessions III, Attorney
   General of the United States; Kevin K.
   McAleenan, Acting Commissioner of CBP;
   Thomas Homan, Acting Director of ICE; L.
   Francis Cissna, Director of USCIS; Pete
   Flores, San Diego Field Director, CBP; Greg
   Archambeault, San Diego Field Office
   Director, ICE; Fred Figueroa, Warden, Otay
   Mesa Detention Center,

                               Respondents.


                             DECLARATION OF KAREN MELIKIAN

   I, Karen Melikian, PhD, make the following declaration based on my personal knowledge and
   declare under the penalty of perjury pursuant to 28 U.S.C. § 1746 that the following is true and
   correct:
       1. I have not directly treated the Petitioner but was asked to give this declaration based on my
            knowledge as a licensed social worker with 36 years of experience working with
            vulnerable children and families, including immigrants and trauma survivors.
       2. I am a Social Worker in the state of Massachusetts and have been licensed since 1982. I
            earned my MSW at the University of Pennsylvania School of Social Work in 1980 and
            my PhD from Simmons College School of Social Work in 1996. I have worked as a
            Teaching Associate in Psychiatry at McLean Hospital since 2005 and as a faculty
            member for the Child and Adult Graduate Programs at the Boston Psychoanalytic Society
            and Institute since 2015.
       3. My professional experience includes crisis and long term clinical work with children and
            families at different developmental stages and in various medical and community based
            settings. In these roles, I have been involved with countless immigrant families as well as
            a variety of situations where children and parents have been separated. Additionally, I
            have assessed numerous children and adults who are seeking asylum through my
            volunteer work with Physicians for Human Rights]
       4. It is my understanding that, in this case, the Petitioner and 7-year-old daughter presented at
            the United States border requesting asylum after fleeing the Democratic Republic of the
            Congo. Mother and daughter were subsequently separated, with mother now in a
            detention center in San Diego and the daughter, unaccompanied by any family member,
            now residing in an ORR facility in Chicago.
       5. Based on my work experience, I can attest that the separation of any child from their
            parent presents complicated obstacles for healthy functioning and development.
            Separating asylum-seeking parents and their children who are already fleeing traumatic
            circumstances will have severe negative medical consequences. It is my professional
            opinion that this current situation perpetuates extreme emotional destabilization and          Exhibit 8, Page 81
            purposeful neglect of this child’s basic needs.                                                18cv0428
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       6. Parents provide stability, containment, and comfort to their children to enable healthy
           functioning and growth. Communities in chaos create an already fragile environment for
           the developing child. Parental relationships help to ameliorate the impact of strife on
           children by modeling unity in the face of stressors. Children need their parent’s physical
           presence to successfully recover from traumatic events in their lives.
       7. In the absence of secure attachments to known and trustworthy adults, children become
           confused and overwhelmed with the effects of sadness, fear, and guilt, making it difficult
           for them to think clearly and maintain realistic hope for the future. Even the most resilient
           child will experience debilitating effects of trauma, including anxiety, despair,
           disturbance of sleep and hyper arousal, when separated from their parent.
       8. Parental protection, nurturance, and guidance speeds recovery and supports better coping
           skills for traumatized children. State of the art treatment for parents and children who
           have experienced trauma places the family itself at the center of the service delivery.
           Adaptation to demanding situations is facilitated by remaining connected to the
           individual that the child loves and depends on for a sense of continuity.
       9. Awareness of the destructive consequences of disrupted family ties and faith in the
           ameliorative value of family unity is a proven prerequisite for both the child’s and the
           parent’s mental and physical survival.
   I declare under penalty of perjury under the laws of the United States of America that the
   foregoing is true and correct, based on my personal knowledge. Executed in Boston,
   Massachusetts on [DATE]




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                         Exhibit 9




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    1                         UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA
    2

    3   Ms. L.,
    4                          Petitioner-Plaintiff,
        v.
    5
        U.S. Immigration and Customs Enforcement         Case No. 18-cv-00428-DMS-MDD
    6   (“ICE”); U.S. Department of Homeland Security
        (“DHS”); U.S. Customs and Border Protection
    7   (“CBP”); U.S. Citizenship and Immigration
        Services (“USCIS”); U.S. Department of Health
    8   and Human Services (“HHS”); Office of
        Refugee Resettlement (“ORR”); Thomas
    9   Homan, Acting Director of ICE; Greg
        Archambeault, San Diego Field Office Director,
   10   ICE; Joseph Greene, San Diego Assistant Field
        Office Director, ICE, Otay Detention Facility;
   11   Kirstjen Nielsen, Secretary of DHS; Jefferson
        Beauregard Sessions III, Attorney General of the
   12   United States; Kevin K. McAleenan, Acting
        Commissioner of CBP; L. Francis Cissna,
   13   Director of USCIS; Pete Flores, San Diego Field
        Director, CBP; Fred Figueroa, Warden, Otay
   14   Mesa Detention Center; Alex Azar, Secretary of
        the Department of Health and Human Services;
   15   Scott Lloyd, Director of the Office of Refugee
        Resettlement,
   16

   17                           Respondents-Defendants.
   18

   19           UNRESTRICTED DECLARATION OF ELIZABETH LOPEZ
   20
        I, Elizabeth Lopez, make the following declaration based on my personal
   21
        knowledge and declare under the penalty of perjury pursuant to 28 U.S.C. § 1746
   22

   23   that the following is true and correct:
   24
             1. I am the immigration attorney for Plaintiff-Petitioner, Ms. L, and represent
   25
                her in her immigration proceedings. I was retained on February 12, 2018.
   26

   27           Prior to that date, Ms. L. had no legal representation.
   28
                                                                               Exhibit 9, Page 84
                                                                               18cv0428
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    1     2. I am currently employed at the Southern California Immigration Project in

    2        San Diego, CA.
    3
          3. During one of my visits with Ms. L. in the Otay Mesa Detention Center in
    4
    5        San Diego, CA, she provided me with a copy of her daughter, S.S.’s, school
    6        identification card. This ID is from S.S.’s school in the Democratic Republic
    7
             of the Congo and has a picture of S.S. The picture is attached as an
    8
    9        addendum to this declaration (restricted).
   10     4. On or about November 1, 2017, Ms. L. and her daughter, S.S., presented
   11
             themselves at a port of entry and expressed a fear of returning to the Congo.
   12
   13        Although Ms. L. and S.S. speak only Lingala, they were able to communicate
   14        their fear of returning to the Congo in the little bit of Spanish they knew.
   15
             Sometime after arriving in the United States, Ms. L. was given a credible fear
   16
   17        interview by an asylum officer. To satisfy the credible fear standard, an
   18        asylum applicant must demonstrate a significant possibility that she will
   19
             ultimately obtain asylum in the United States. Ms. L. passed her credible fear
   20
   21        interview, and was then placed into full immigration proceedings. Ms. L. fled
   22
             her home in the Democratic Republic of the Congo in fear of her life. She is
   23
             catholic and sought shelter with S.S. in a church for several days before
   24
   25        eventually escaping the Congo.
   26
   27
          I declare under penalty of perjury under the laws of the United States of
   28
                                                                              Exhibit 9, Page 85
                                                                              18cv0428
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                                                                     Exhibit 9, Page 86
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                         Exhibit 10




                                                                    Exhibit 10, Page 87
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    1    Lee Gelernt*                                 Bardis Vakili (SBN 247783)
         Judy Rabinovitz*                             ACLU FOUNDATION OF SAN
    2    Anand Balakrishnan*                          DIEGO &
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    9    abalakrishnan@aclu.org
   10    Attorneys for Petitioner-Plaintiff
   11    Additional counsel on next page
   12
                             UNITED STATES DISTRICT COURT
   13                      SOUTHERN DISTRICT OF CALIFORNIA
   14
        Ms. L.,
   15

   16                         Petitioner-Plaintiff,
        v.
   17                                                          Case No. 18-cv-00428-DMS-
        U.S. Immigration and Customs Enforcement               MDD
   18   (“ICE”); U.S. Department of Homeland Security
   19   (“DHS”); U.S. Customs and Border Protection
        (“CBP”); U.S. Citizenship and Immigration
   20   Services (“USCIS”); U.S. Department of Health          DECLARATION OF MS. L.
   21   and Human Services (“HHS”); Office of
        Refugee Resettlement (“ORR”); Thomas
   22   Homan, Acting Director of ICE; Greg
   23   Archambeault, San Diego Field Office Director,
        ICE; Joseph Greene, San Diego Assistant Field
   24   Office Director, ICE, Otay Detention Facility;
   25   Kirstjen Nielsen, Secretary of DHS; Jefferson
        Beauregard Sessions III, Attorney General of the
   26   United States; Kevin K. McAleenan, Acting
   27   Commissioner of CBP; L. Francis Cissna,
        Director of USCIS; Pete Flores, San Diego Field
   28
                                                                               Exhibit 10, Page 88
                                                                                18cv0428
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    1   Director, CBP; Fred Figueroa, Warden, Otay
        Mesa Detention Center; Alex Azar, Secretary of
    2   the Department of Health and Human Services;
    3   Scott Lloyd, Director of the Office of Refugee
        Resettlement,
    4
                             Respondents-Defendants.
    5
    6
    7
    8
    9
   10   Spencer E. Amdur (SBN 320069)
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                                                                    Exhibit 10, Page 89
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